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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                              UNITED STATES DISTRICT COURT                                July 23, 2024
                               SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                   HOUSTON DIVISION


TEXAS REI UNLIMITED LLC, et al.,                  §
                                                  §
         Plaintiffs,                              §
                                                  §
VS.                                               §   CIVIL ACTION NO. 4:24-CV-01769
                                                  §
JUST MORTGAGE, INC.,                              §
                                                  §
         Defendant.                               §

               ORDER GRANTING DEFENDANT’S MOTION TO DISMISS

       On this day came on to be heard Just Mortgage’s motion to dismiss the plaintiffs’

Complaint (Dkt. No. 6). Upon consideration of Just Mortgage’s motion, any timely filed response

filed by plaintiffs and any subsequent reply, the papers on file with the court and applicable law,

the court finds Just Mortgage’s motion is well-taken and should be GRANTED as follows:

       It is, therefore, ORDERED, ADJUDGED and DECREED that Just Mortgage’s motion to

dismiss is granted and the plaintiffs shall take nothing on their claims.

       This judgment disposes of all claims against all parties and is a final judgment for all

purposes, including appeal.

       It is so ORDERED.

       SIGNED on July 23, 2024, at Houston, Texas.


                                                       _________________________________
                                                       Kenneth M. Hoyt
                                                       United States District Judge




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